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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
TH:MRG                                            271 Cadman Plaza East
F.#2016R01033                                     Brooklyn, New York 11201


                                                  May 16, 2022

By ECF and Email

The Honorable Frederic Block
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Gene Borrello
                     Criminal Docket No. 16-474 (FB)

Dear Judge Block:

               The government submits this letter in connection with the sentencing of the
defendant Gene Borrello for his violation of supervised release, which is currently scheduled
for June 3, 2022. For the reasons set forth below, the government respectfully requests that
the Court impose a sentence within the United States Sentencing Guidelines (“U.S.S.G.” or
“Guidelines”) range, which is 8 to 14 months’ imprisonment, to be followed by a three-year
term of supervised release.

  I.   Factual and Procedural Background

               On November 9, 2016, the defendant pled guilty before United States
Magistrate Judge Peggy Kuo, to (a) racketeering, including predicate acts of extortion
conspiracy, illegal gambling, murder conspiracy/attempted murder, arson
conspiracy/attempted arson, robbery and illegal gambling; (b) assault in aid of racketeering;
(c) unlawful use of a firearm during a crime of violence; (d) arson; and (e) two counts of




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Hobbs Act robbery conspiracy. (Borrello’s Presentence Investigation Report (“PSR”), ¶ 1.) 1
On November 16, 2016, the Court accepted Borrello’s guilty plea. (Id. ¶ 89.)

               On December 6, 2019, the Court sentenced the defendant to time served
followed by three years of supervised release. (July 30 Report at 5.) At sentencing, the
Court also imposed special conditions, including that the defendant could not associate with
individuals affiliated with organized crime. (Id. ¶ at 6.)

               On March 26, 2021, Borrello pled guilty to violating the terms of his
supervised release by committing a new crime (interstate threats, in violation of 18 U.S.C. ¶
875(b)); associating with individuals engaged in criminal activity; and associating with
individuals affiliated with organized crime. (See July 30 Report at 2-5.) The first violation
stemmed from threats Borrello made to his ex-girlfriend and her family members, some of
which are included below.




(See Violation Report, dated February 12, 2021 (“February 12 Report”) at 8.)

               In addition, Borrello violated the terms of his supervised release by associating
with convicted felons, including those associated with organized crime, primarily by hosting
a podcast titled, “The Johnny and Gene Show.” (Id. at 10-11.) Borrello produced twenty-
seven of these podcasts even after he was directed to refrain from associating with known
convicted felons. (Id.) On his podcast, Borrello glorified all aspects of organized criminal

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               A further description of Borrello’s conduct is set forth in the July 30, 2021
violation report prepared by the United States Probation Department for the Eastern District
of New York (“July 30 Report”). (See July 30 Report at 2-5.)

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activities and described in detail various acts of violence in which he and his co-host, John
Alite, had participated. In one segment, on September 12, 2020, Borrello hosted on his
podcast Rob Rubeo, a former Genovese Crime Family member, who was also on supervised
release. (Id. at 12.) Rubeo pled guilty to violating the terms of his supervised release in the
Southern District of New York in connection with his appearance on the podcast. United
States v. Rubeo, 12-CR-260 (RJS) (S.D.N.Y.) (Dkt. 72, 104).

               Based on the conduct described above, on March 26, 2021, Borrello’s
supervised release was revoked, and the Court sentenced him to 120 days in custody, three
years of supervised release and imposed special conditions. (July 30 Report at 7.) One
special condition included a directive that Borrello refrain from participating in organized
crime related podcasts, internet shows, or other similar programing, and refrain from using or
accessing Instagram for a period of one year. (Id.) At the March 26, 2021 sentencing, the
Court took notice of Borrello’s “bad track record” and warned him against committing
additional violations of his supervised release. Further, the Court stated that it was giving
Borrello a “break,” but it would be his last and, were there any additional violations, Borrello
could receive a lengthy sentence of imprisonment.

              Borrello was released from custody in June of 2021. On June 21, 2021,
Borrello signed the conditions of supervised release, which prohibit him from participating in
any way with organized crime-related internet shows, discussing criminal activity or
organized crime during the period of supervised release. (Id. at 8.) Borrello did not go a
month before—again—violating the terms of his supervised release set forth in the Court’s
Order dated March 26, 2021. (Id. at 7-10.) Specifically, Borrello created and uploaded to
YouTube incendiary videos in which, among other things, he glorified his past violent
incidents and discussed his criminal history. (Id.)

               For example, in a YouTube video titled “Getting violated by probation and
going back to jail,” Borrello discussed his version of the violation incident and provided a
backstory regarding his ex-girlfriend and her husband. Borrello made disparaging remarks
regarding his ex-girlfriend’s husband, stating, “I’m not your fucking fat, goofy, boyfriend
husband from Long Island. That fucking fat …. I got nasty and I said I’ll blow his head
off…” (Id. at 9.) Borrello also discussed other incidents with organized crime associates,
and described private information about these individuals, including information about an
organized crime member’s wife and her sexual activity. (Id.) Borrello also made other
comments regarding “shooting rats” and glorifying violence within the community of
Howard Beach, Queens. (Id.)

                As another example, on a YouTube video named “Ronnie do you smell that,”
Borrello described how he and Ronald Giallanzo, a federally convicted felon and former
acting captain in the Bonanno Crime Family, assaulted a victim to recover money. (Id. at
10.) Borrello glorified the incident by explaining that he was using brass knuckles and
hitting the victim. Borrello stated on the video “Ron do you smell that?... The dude shit
himself. We literally beat the shit out of him.” Borrello further described bringing the

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victim back to the victim’s residence where Borrello continued to physically assault the
victim in front of his family. In the end, Borrello explained “how dangerous it is when you
owe the ‘mafia’ money.” (Id.)

               On November 16, 2021, the defendant pled guilty to charges one and two of
the July 30, 2021 Violation Report. (See Minute Entry, dated 11/16/21.)

              Borrello has a lengthy criminal history, and he is in criminal history category
VI. (July 30 Report at 5.)

 II.   Argument

             A.       Sentencing on a Violation of Supervised Release

              A district court has “broad discretion” in imposing sentencing, and in the
context of a violation of supervised release proceeding, the Court can revoke supervised
release and order a term of imprisonment followed by additional supervision. See United
States v. Wirth, 250 F.3d 165, 169 (2d Cir. 2001).
               As the Second Circuit has explained, “‘the primary goal of a revocation
sentence’ ought to be ‘to sanction the violator for failing to abide by the conditions of the
court-ordered supervision,’ in order to account for the breach of trust inherent in failing to
appreciate the privileges associated with such supervision.” United States v. Sindima, 488
F.3d 81, 86 (2d Cir. 2007) (quoting U.S.S.G. chap. 7, pt. A.3(b)); accord United States v.
Gonzalez, 634 F. App’x 15, 18 (2d Cir. 2015). “Thus, ‘at revocation the court should
sanction primarily the defendant’s breach of trust, while taking into account, to a limited
degree, the seriousness of the underlying violation and the criminal history of the violator.’”
Sindima, 488 F.3d at 86 (quoting U.S.S.G. chap. 7, pt. A.3(b)).
             Here, pursuant to Title 18, United States Code, Section 3583(e)(3), the Court
may sentence the defendant to up to five years’ incarceration. The applicable Guidelines
range based on the defendant’s violation conduct and criminal history category (VI) is 8 to
14 months’ imprisonment. See U.S.S.G. § 7B1.4(a).
              B.      Argument for the Government’s Proposed Sentence
              The government respectfully submits that a proposed sentence within the
Guidelines range, which is 8 to 14 months’ imprisonment, to be followed by three years’
supervised release, is sufficient, but not greater than necessary, to achieve the goals of
sentencing for the defendant’s violations of supervised release.
               “The very purpose of a supervised release revocation hearing is to determine
the gravity of the breach of trust committed by the defendant in the context of the conditional
liberty []he was granted following [his] conviction of the underlying offense.” United States
v. Ramos, 979 F.3d 994, 1001 (2d Cir. 2020). The defendant first breached the Court’s trust
in February 2021 by committing a new federal crime based on violent and threatening

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comments made to his ex-girlfriend. Following his custodial term for that violation, Borrello
was released for only a matter of weeks before disregarding the Court’s orders and violating
again in July 2021. He has repeatedly shown that he has no respect for the law or orders of
this Court, and has breached the Court’s trust.
               It is noteworthy that not only did the defendant violate the terms of his
supervised release shortly after being released from custody, but his violations involved
some of the same conduct for which he initially violated the terms of his supervised release,
including glorifying his past violent organized criminal activity through social media. This is
a serious violation of trust by which the defendant demonstrated no respect for the authority
of this Court and no regard for the conditions of his supervised release.
              Accordingly, each the Section 3553(a) factors weigh in favor of a sentence
within the Guidelines range. First, the nature and circumstances of the offense were serious.
Second, the defendant has a history of violating court orders and of violent and threatening
conduct. Third, the need for deterrence is significant here given the serious nature of the
violation and the defendant’s pattern of disregard for court orders.
               The defendant previously violated the Court’s trust by squandering chances
provided by the Court—at his initial sentencing and then again at sentencing on his first
violation—to the defendant. On March 26, 2021, the Court stated that it was giving Borrello
a “break,” but it would be his last and, were there any additional violations, Borrello could
receive a lengthy sentence of imprisonment. Borrello immediately violated again. A
noncustodial sentence would send the message that this is business as usual for Gene
Borrello, and orders of the Court can be flouted at the defendant’s will. Borrello should be
held accountable for breaching the Court’s trust and failing to abide by the conditions
imposed by the Court. A sentence between 8-14 months’ imprisonment, followed by three
years of supervised release, would achieve these goals.




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III.   Conclusion

               For the foregoing reasons, the government respectfully submits that a sentence
between 8 to 14 months’ imprisonment, followed by three years of supervised release, is
sufficient, but not greater than necessary, to achieve the goals of sentencing.

                                                  Respectfully submitted,

                                                  BREON PEACE
                                                  United States Attorney

                                          By:      /s/ Matthew R. Galeotti
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cc:    Clerk of Court (FB) (by ECF)
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